Case 16-33371-RG           Doc 190       Filed 06/01/20 Entered 06/01/20 16:04:02                     Desc Main
                                        Document      Page 1 of 1

                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY

In Re:                                                       Case No.:         16-33371 (RG)
NICHOLAS PEZZA                                               Chapter:          7
                                                             Judge:            Rosemary Gambardella


         NOTICE OF PROPOSED COMPROMISE or SETTLEMENT OF CONTROVERSY

Steven P. Kartzman, Chapter 7 Trustee, in this case proposes a compromise, or to settle a claim and/or
action as described below. If you object to the settlement or compromise, you must file a written
objection with the Clerk of the United States Bankruptcy Court, and serve it on the person named below
not later 7 days before the hearing date.

 Address of the Clerk:      Jeanne A. Naughton, Clerk
                            Martin Luther King Jr. Federal Building
                            50 Walnut Street, P.O. Box 1352
                            Newark, New Jersey 07102

If an objection is filed, a hearing will be held before the Honorable Rosemary Gambardella on June 30,
2020 at 10:00 a.m. at the United States Bankruptcy Court, Courtroom No. 3E, Martin Luther King Jr.
Federal Building, 50 Walnut Street, Newark, New Jersey (hearing to be scheduled for at least 28 days from the date
of the filing of the notice). If no objection is filed the clerk will enter a Certification of No Objection and the
settlement may be completed as proposed.

Nature of action: Based upon the Debtors’ testimony and documentation provided by the Debtor the
Trustee identified substantial non-exempt equity in the Debtor’s assets as of the date of conversion to
Chapter 7, totaling $25,463. This sum was reduced by $10,340.48 representing funds turned over to the
Trustee by TD Bank, N.A., as well as $5,555.77 representing checks paid by customers of the Debtor’s
landscaping business which were subsequently turned over to the Trustee. Accordingly, the Trustee
demanded turnover be made in the net sum of $9,566.75. The Trustee and the Debtor’s attorney engaged
in negotiations and were able to agree on a payment plan for the amount to be paid to the Estate, in lieu of
litigation.

Pertinent terms of settlement: The Debtor shall pay the sum of $9,566.75 (the “Settlement Amount”) to
the Trustee, resolving the issue of turnover of property of the estate to the trustee pursuant to 11 U.S.C. §
542(a), by way of six (6) monthly installments of $1,594.46, beginning with a payment on June 1, 2020.
The Trustee believes that the settlement is in the best interests of the estate as it maximizes value and will
avoid unnecessary litigation, the cost of which would necessarily diminish any additional recovery.

Objections must be served on, and requests for additional information directed to:
Name:            /s/ Steven P. Kartzman, Esq., Mellinger Kartzman LLC

Address:         101 Gibraltar Drive, Suite 2F, Morris Plains, New Jersey 07950

Telephone No.: (973) 267-0220
